                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 NORMA SPRINGER,                                  )
                                                  )
         Plaintiff,                               )
                                                  )
 v.                                               )
                                                  )
 METROPOLITAN GOVERNMENT                          )   NO. 3:20-cv-00202
 OF NASHVILLE & DAVIDSON                          )
 COUNTY acting by and through THE                 )
 ELECTRIC POWERBOARD of said                      )
 GOVERNMENT d/b/a NASHVILLE                       )
 ELECTRIC SERVICE,                                )
                                                  )
         Defendant.

                                             ORDER
        The Report of Mediation (Doc. No. 44) states the parties have resolved all claims in this

matter. Per Judge Alistair Newbern’s Order (Doc. No. 45), the parties shall file all necessary

filings to terminate the resolved claims by January 28, 2022. Accordingly, the pretrial

conference set for January 24, 2022, and the trial set for February 1, 2022, are hereby

CANCELLED.

        IT IS SO ORDERED.



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                                             WAVERLY D. CRENSHAW, JR.
                                             CHIEF UNITED STATES DISTRICT JUDGE




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